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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      BECKLEY DIVISION


UNITED STATES OF AMERICA,

                               Plaintiff,

v.                                                    CRIMINAL ACTION NO. 5:02-cr-00101-03

CRUSO R. WALLACE,

                               Defendant.



                                             ORDER



       Pending before the Court is Defendant’s Motion to Alter or Amend Judgment [Docket 335],

in which he seeks reconsideration of the Court’s Memorandum Opinion and Judgment Order

[Docket 334] entered on June 9, 2009, granting him a two-level reduction in sentence pursuant to

18 U.S.C. § 3582(c)(2) based on a reduction in the applicable guidelines range for crack cocaine

offenses. In that motion, Defendant maintains that, despite that reduction, “his sentence should also

be reduced pursuant to Amendment 706 of the United States Sentencing Guidelines.” (Docket 335

at 2.) This argument, however, misconstrues the manner by which the § 3582(c)(2) reduction

operates. Specifically, § 3582(c)(2) permits a court to reduce a defendant’s term of imprisonment

“if such a reduction is consistent with the applicable policy statements issued by the Sentencing

Commission.” Those policy statements, which are contained in § 1B1.10 of the United States

Sentencing Commission Guidelines Manual, allow a court to reduce a defendant’s sentence in a case
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where the applicable guideline range has subsequently been lowered by an amendment to the

Guidelines Manual. The list of applicable amendments expressly includes Amendment 706.

       Thus, the previous two-level reduction in Defendant’s sentence pursuant to § 3582(c)(2)

effectuated the very reduction under Amendment 706 that Defendant now seeks. Accordingly,

Defendant’s Motion to Alter or Amend Judgment [Docket 335] is DENIED.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel,

the United States Attorney, the United States Probation Office, and the United States Marshal.

                                            ENTER:         July 31, 2009



                                            _________________________________________
                                            THOMAS E. JOHNSTON
                                            UNITED STATES DISTRICT JUDGE




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